Case 1:21-cv-10083-DJC   Document 139-9   Filed 11/22/24   Page 1 of 41




           Exhibit 9
     Case 1:21-cv-10083-DJC              Document 139-9   Filed 11/22/24        Page 2 of 41
   REFUGEE, ASYLUM, AND INTERNATIONAL OPERATIONS DIRECTORATE (RAID)




                                              US. Citizenship
                                              and Immigration
                                              Services


RAIO DIRECTORATE - OFFICER TRAINING



                     RAIO Combined Training Program



                                 NOTE-TAKING

                                     TRAINING MODULE




 USCIS: RAIO Directorate — Officer Training               DATE (see schedule of revisions): 12/20/2019
 RAID Combined Training Program                                                           Page 1 of 40




                                                                                                USCIS00008040
    Case 1:21-cv-10083-DJC              Document 139-9        Filed 11/22/24       Page 3 of 41
                                                                                            Note-'



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USCIS: RAIO Directorate — Officer Training                   DATE (see schedule of revisions): 12/20/2019
RAIO Combined Training Program                                                               Page 2 of 40




                                                                                                     USCIS00008041
    Case 1:21-cv-10083-DJC              Document 139-9      Filed 11/22/24        Page 4 of 41
                                                                                           Note-'



            RAIO Directorate — Officer Training / RAIO Combined Training Program



                                         NOTE-TAKING
                                             Training Module


MODULE DESCRIPTION:

        This module outlines the importance of taking clear and comprehensive notes during the
        interview, the characteristics of proper notes, and procedures for proper note-taking.


TERMINAL PERFORMANCE OBJECTIVE(S)

        When interviewing in the field, you will be able to create in your notes a clear record of
        all relevant information necessary to adjudicate the immigration benefit, petition,
        protection determination, or other immigration-related request.


ENABLING PERFORMANCE OBJECTIVES

        1. Explain the importance and purpose of creating an accurate written record of an
           interview.

        2. Write or type comprehensive and readable interview notes, following proper
           procedures for note-taking.

        3. Explain which parties may have access to your interview notes.

        4. Separate inappropriate inferences which should not be recorded from objective
           observations which may be documented.

            Explain when you are required to switch your note-taking to a more detailed
            question-and-answer format of note-taking.

        6. Explain the importance of using note-taking techniques that do not interfere with the
           interview.


INSTRUCTIONAL METHODS

        •   Interactive presentation
        •   Practical exercises

USCIS: RAIO Directorate — Officer Training                  DATE (see schedule of revisions): 12/20/2019
RAIO Combined Training Program                                                              Page 3 of 40




                                                                                                    USCIS00008042
    Case 1:21-cv-10083-DJC              Document 139-9       Filed 11/22/24        Page 5 of 41
                                                                                            Note-'



METHOD(S) OF EVALUATION

        •    Written exam
        •    Practical application during mock interview exam


REQUIRED READING

        1.

        2.

        Required Reading — International and Refugee Adjudications

        Required Reading —Asylum Adjudications


ADDITIONAL RESOURCES

        1.

        2.

        Additional Resources — International and Refugee Adjudications

        Additional Resources — Asylum Adjudications




                                             CRITICAL TASKS



  Task/                                           Task Description
  Skill #
 ITK7         Knowledge of strategies and techniques for note-taking (4)
 ITS10        Skill in taking notes to capture information (4)




USCIS: RAIO Directorate — Officer Training                   DATE (see schedule of revisions): 12/20/2019
RAIO Combined Training Program                                                               Page 4 of 40




                                                                                                     USCIS00008043
    Case 1:21-cv-10083-DJC              Document 139-9        Filed 11/22/24        Page 6 of 41
                                                                                             Note-'



                                    SCHEDULE OF REVISIONS

   Date         Section                      Brief Description of Changes                    Made By
             (Number and
                 Name)
12/12/2012 Entire Lesson             Lesson Plan published                                RAID
           Plan                                                                           Training
6/06/2013  Throughout                Corrected minor typos, formatting, cites             MMorales,
           document                  identified by OCC-TKMD.                              RAID
                                                                                          Training
6/12/2015  3.1.2 — Sworn             Removed outdated procedural information              RAID
           Statements and                                                                 Training
           ASM supplement
12/20/2019 Entire Lesson             Minor edits to reflect changes in organizational     RAID
           Plan                      structure of RAID; no substantive updates            Training




USCIS: RAIO Directorate — Officer Training                    DATE (see schedule of revisions): 12/20/2019
RAIO Combined Training Program                                                                Page 5 of 40




                                                                                                      USCIS00008044
      Case 1:21-cv-10083-DJC                          Document 139-9                   Filed 11/22/24                Page 7 of 41
                                                                                                                                 Note-'




                                                          Table of Contents

1      INTRODUCTION .......................................................................................................................8

2      THE IMPORTANCE OF PROPER NOTE-TAKING ......................................................................9

2.1 Notes Serve as a Record ..........................................................................................................9
2.2 Access to an Officer's Notes ...................................................................................................9

3      CHARACTERISTICS OF PROPER INTERVIEW NOTES ............................................................11

3.1 Format ....................................................................................................................................11
       3.1.1 Modified Q&A Format ...............................................................................................12
       3.1.2 Sworn Statements .......................................................................................................12
3.2 Requirements for Proper Note-Taking ..................................................................................14
       3.2.1 Notes Must Be Legible ...............................................................................................14
       3.2.2 Notes Must Accurately Reflect the Questions You Ask and the Interviewee's
       Response ................................................................................................................................14
       3.2.3 Notes Must Not Include the Officer's Opinions, Suppositions, or Personal Inferences16
       3.2.4 Notes Must Include What the Interviewee Did Not Say, When Appropriate ............17
       3.2.5 Notes Must Identify the Speaker if More than One Person Is Providing Testimony .19
       3.2.6 Notes Must Include Certain Identifying Information on Each Page ..........................19
       3.2.7 Notes Must Not Include Abbreviations that a Reviewer Will Not Understand .........19
       3.2.8 Record Administration of Oath and Use of Interpreter ..............................................19
       3.2.9 Notes Must Indicate Instances When the Officer Confronts Interviewee with Adverse
       Information ............................................................................................................................20
       3.2.10 Notes Must Substantiate the Analysis ........................................................................21
       3.2.11 Notes May Refer to Any Document Deficiencies in the File .....................................21

4      EFFECTIVE NOTE-TAKING METHODS AND TECHNIQUES ...................................................21

4.1 Develop Non-Intrusive Note-Taking Techniques .................................................................22
       4.1.1 Officers May Refer to the Notes at Any Time During the Interview . ........................22

5      CONCLUSION .........................................................................................................................23

6      SUMMARY ............................................................ .................................................................23

6.1 The Importance of Proper Note-Taking ............. . .................................................................23
6.2 Characteristics of Proper Interview Notes........... .................................................................23
6.3 Effective Note-Taking Methods and Techniques .................................................................25


USCIS: RAIO Directorate — Officer Training                                             DATE (see schedule of revisions): 12/20/2019
RAID Combined Training Program                                                                                         Page 6 of 40




                                                                                                                                          USCIS00008045
      Case 1:21-cv-10083-DJC                          Document 139-9                   Filed 11/22/24                   Page 8 of 41
                                                                                                                              Note-'



6.4 Refer back to your notes during the interview and at the conclusion of the interview to
    ensure completeness and accuracy . .......................................................................................25

PRACTICAL EXERCISES .................................................................................................................26


OTHER MATERIALS.......................................................................................................................27

SUPPLEMENT A — INTERNATIONAL AND REFUGEE ADJUDICATIONS................. .........................33

Required Reading.................................................................................................
Additional Resources ...........................................................................................
Supplements .........................................................................................................

SUPPLEMENT B — ASYLUM ADJUDICATIONS ......................................................

Required Reading.................................................................................................
Additional Resources ...........................................................................................
Supplements .........................................................................................................




USCIS: RAIO Directorate — Officer Training                                             DATE (see schedule of revisions): 12/20/2019
RAID Combined Training Program                                                                                         Page 7 of 40




                                                                                                                                       USCIS00008046
    Case 1:21-cv-10083-DJC              Document 139-9      Filed 11/22/24       Page 9 of 41
                                                                                          Note-'




           Throughout this training module, you will come across references to adjudication-
           specific supplemental information located at the end of the module, as well as links
           to documents that contain adjudication-specific, detailed information. You are
           responsible for knowing the information in the referenced material that pertains to
           the adjudications you will be performing.

           For easy reference, supplements for international and refugee adjudications are in
           pink and supplements for asylum adjudications are in yellow.

           You may also encounter references to the legacy Refugee Affairs Division (RAD)
           and the legacy International Operations Division (IO). RAD has been renamed the
           International and Refugee Affairs Division (IRAD) and has assumed much of the
           workload of TO, which is no longer operating as a separate RAIO division.




           Officers in the RAIO Directorate conduct interviews primarily to determine
           eligibility for immigration benefits or requests; to corroborate information provided
           by applicants, petitioners, and beneficiaries; and/or to establish whether a person
           understands the consequences of his or her actions.

           The modules of the RAIO Directorate — Officer Training Program and the
           adjudication-specific training courses constitute primary field guidance for all
           officers who conduct interviews for the RAIO Directorate. The USCIS
           Adjudicator's Field Manual (AFM) also provides guidance for officers when
           conducting interviews, particularly for officers serving in RAIO's international
           offices. There may be some instances where the guidance in the AFM conflicts
           with guidance provided by the RAIO Directorate. If this is the case, you should
           follow the RAIO guidance. Further guidance regarding interviews for specific
           applications will be discussed during adjudication-specific trainings.

           In this module, the term "interviewee" is used to refer to an individual who is
           interviewed by an officer in the RAIO Directorate for an official purpose.



        INTRODUCTION

        This module is part of a series of interviewing modules that discuss various topics,
        including the basic principles and components of conducting a non-adversarial interview,
        the goals and techniques of eliciting information, and considerations when conducting an
        interview through an interpreter. This module provides guidance on creating a written
        record documenting the testimony and events that occur during an interview, and


USCIS: RAIO Directorate — Officer Training                 DATE (see schedule of revisions): 12/20/2019
RAIO Combined Training Program                                                             Page 8 of 40




                                                                                                   USCIS00008047
      Case 1:21-cv-10083-DJC           Document 139-9        Filed 11/22/24       Page 10 of 41
                                                                                            Note-'



         explains effective note-taking techniques. Please refer to the other interviewing modules
         for additional guidance on conducting RAIO interviews.
      • Interviewing —Introduction to the Non-Adversarial Interview
      • Interviewing Note-Taking
      • Interviewing     Working with an Interpreter
      • Interviewing —Interviewing Survivors of Torture


2        THE IMPORTANCE OF PROPER NOTE-TAKING

2.1      Notes Serve as a Record

         The two main purposes of taking notes during an interview are to:

         •   Support the decision regarding the interviewee's eligibility for the immigration
             benefit, petition, protection determination, or other immigration-related request

         •   Enable a reviewer to reconstruct what transpired during an interview

         It is critical that you take clear and legible notes. Officers in the RAIO Directorate
         conduct several different types of interviews. In all interviews, notes must reflect what
         transpired during the interview and support the decision. In many instances, there may be
         a delay between the interview and when a final determination is made in a case. You may
         have to refer back to your interview notes to substantiate your analysis. In addition, your
         notes will be reviewed by others, such as supervisors and headquarters staff.


             The importance of taking accurate notes that provide a full picture of the interview
             cannot be overstated. In most cases, the subsequent reviewers were not present
             during the interview and must rely on your notes to adjudicate the case. It is
             important to remember that each part of your analysis must be supported by
             evidence in the record, and that your notes will form the primary record of the
             interview.


2.2      Access to an Officer's Notes

         The following people may have access to an Officer's interview notes:

         USCIS Field Office staff

         Refugee, Asylum, and International Operations (RAIO) Directorate: Other Officers
         within the RAIO Directorate review interview notes when conducting re-interviews,
         reviewing Requests for Review, adjudicating the case at a later date, or conducting
         quality assurance (QA) review. Supervisors also review the interview notes when

USCIS: RAIO Directorate — Officer Training                   DATE (see schedule of revisions): 12/20/2019
RAIO Combined Training Program                                                               Page 9 of 40




                                                                                                     USCIS00008048
    Case 1:21-cv-10083-DJC             Document 139-9       Filed 11/22/24       Page 11 of 41
                                                                                           Note-'



         reviewing the decision. Other staff, including field management, Training Officers (TOs),
         Fraud Detection and National Security (FDNS) Officers, and locally engaged staff (LES),
         may also review the notes in certain cases.

          Field Operations: USCIS domestic Field Operations staff will also access and review
          interviewing Officer notes during subsequent adjudications, including adjustment of
          status and naturalization.

          USCIS Headquarters (HQ) staff

         RAIO HQ staff, including Officers who conduct training and QA review, Division
         Managers, and the RAIO Research Unit review interview notes. On occasion, the Office
         of the Chief Counsel (OCC) reviews cases, including interview notes. In addition, the
         Administrative Appeals Office (AAO) reviews appeals of certain petitions and
         applications.

          Interviewees and representatives

         The Freedom of Information Act (FOIA) provides access to all federal agency records
         that are not protected from release by exemptions.' An applicant or his or her attorney of
         record may request a review or a copy of the record of proceedings. This includes any
         written record of an interview you conduct. Although generally interview notes are not
         provided in response to a FOIA request, notes have occasionally been provided.

         (For additional information regarding your responsibilities under FOIA/Privacy Act,
         please see RAIO Training Module, Overview of Alien Registration Files (A-Files) and
         Handling Records.)

          Department of State (DOS)

         Department of State (DOS) staff may have access to electronic files. This includes access
         to interview assessments and interview notes. For example, DOS staff may access I-604
         adoption investigation interview notes, I-130 interview notes, I-407 notes, or notes
         pertaining to a refugee interview in the Worldwide Refugee Admissions Processing
         System (WRAPS) database. At times, staff from the Bureau of Population, Refugees, and
         Migration (PRM) may review interview notes if there is a particularly sensitive issue to
         resolve in a refugee case.

          Courts and lawyers

         If an asylum applicant is placed in immigration proceedings, a number of people may
         have access to the interview notes. Immigration Judges, part of the Executive Office for
         Immigration Review (EOIR) conduct immigration court proceedings. In these
         proceedings, Immigration and Customs Enforcement (ICE) trial attorneys represent the


' 5 U.S.C. § 552.


USCIS: RAIO Directorate — Officer Training                  DATE (see schedule of revisions): 12/20/2019
RAIO Combined Training Program                                                             Page 10 of 40




                                                                                                    USCIS00008049
      Case 1:21-cv-10083-DJC           Document 139-9      Filed 11/22/24        Page 12 of 41
                                                                                           Note-'



        Department of Homeland Security (DHS). The ICE trial attorney reviews the notes, and
        if he or she introduces the interview notes as evidence, all parties to the proceeding,
        including the Immigration Judge, will have access to the interview notes.

        The Board of Immigration Appeals (BIA) is EOIR's appellate component and has
        jurisdiction over appeals of decisions by Immigration Judges. As part of their review
        process, BIA Board Members and staff may review interview notes contained in the
        record.

         If the BIA ruling is appealed, attorneys representing the government in the U.S. Courts of
         Appeals may have access to interview notes.

        In the event that an interviewee is at some point in time identified as a possible human
        rights violator, your interview notes may be accessed by attorneys of the ICE Human
        Rights Law Division (HRLD) and ICE Human Rights Violators and War Crimes Center
        (HRVWCC). These units are charged with investigation, litigation, and removal of
        human rights violators.

         In rare circumstances, courts hearing cases unrelated to immigration benefits may have
         access to the interviewing officer's notes.

         Other U.S. Government officials

         Certain Government officials and contractors may have a need to examine information in
         connection with an asylum and/or refugee application, as well as a need to review
         information pertaining to certain asylum, refugee, credible fear, and reasonable fear
         applications, and as such, may have access to your notes.2

        For example, in certain situations, interview notes may be shared with law enforcement
        personnel, or with DHS employees outside of USCIS.


3        CHARACTERISTICS OF PROPER INTERVIEW NOTES

3.1      Format

        There is no standardized format for interview notes. While all notes must conform to
        certain requirements, many different formats are used by officers. As you become more
        familiar with interviewing and taking notes, you will find the format that works best for
        you. There are three examples of interview notes taken in different formats in the Other
        Materials section of this module. For asylum adjudications, Format Example #1 is
        strongly suggested.



2 8 C.F.R.§ 208.6.

USCIS: RAIO Directorate — Officer Training                  DATE (see schedule of revisions): 12/20/2019
RAIO Combined Training Program                                                             Page 11 of 40




                                                                                                    USCIS00008050
    Case 1:21-cv-10083-DJC                 Document 139-9             Filed 11/22/24          Page 13 of 41
                                                                                                         Note-'


         Regardless of how you format your interview notes, you must maintain an accurate
         written record of information elicited during the interview. Although you are not always
         required to keep a verbatim record of the interview, you must ensure that the notes are
         representative of the interviewee's testimony.

3.1.1    Modified Q&A Format

         Officers adjudicating I-590s are required to take notes in modified Q&A format. Officers
         adjudicating other form types are encouraged to use this format. Notes taken in modified
         Q&A format contain both the question asked by the officer and the interviewee's
         response. In modified Q&A format, it is not necessary to write down every word spoken.
         Rather, you should capture what was discussed during the interview to the fullest extent
         possible without interfering with the flow of the interview. If you are able to record a
         verbatim record, you may do so.

         For instance, rather than writing, "Have you ever applied for a visa to the United States?"
         you can write, "Visa to U.S.?" If the applicant responds: "I applied for a visa in Bangkok
         in March 2004, but the Consular Officer denied me. I applied again in New Delhi in
         September 2006, and I was granted the visa," the written notes could state: "Applied,
         Bangkok, 3/04, denied. Applied, New Delhi, 9/06, granted."

         At the end of the interview, you should review your notes and correct any typographical
         errors, grammatical mistakes, or spelling errors that distort the meaning of what was said
         at the interview. If typing your notes, be mindful that the autocorrect and spell-check
         functions on your word processing program may have altered words that you did not
         intend to change.

3.1.2    Sworn Statements

         You are usually not required to take verbatim notes. However, there may be certain
         instances in interviews when it is essential to capture every word. In such instances,
         officers adjudicating asylum and other form types should take sworn statements. In the
         refugee context, officers should take notes in greater detail in the modified Q&A format.3
         (Note: do not confuse a sworn statement as a note-taking format with the Form G-646
         Sworn Statement of Refugee Applyingfor Entry into the United States, which is
         sometimes referred to by the same name.)

         Sworn statements are taken in Q&A format. However, in contrast to the modified Q&A
         format, sworn statements reflect a verbatim record of the specific questions asked, and
         the interviewee's answers. At the end of the interview, you must review the sworn
         statement with the interviewee and representative, if applicable, and have the interviewee



3 In general, officers adjudicating I-590s do not use sworn statements. Officers are required to follow the 1-730 SOP
when conducting 1-730 (V92/93) interviews, which requires the use of sworn statements in the circumstances
outlined above. For more information, please refer to the Division-specific training 011 1-730 interviews.

USCIS: RAIO Directorate — Officer Training                             DATE (see schedule of revisions): 12/20/2019
RAIO Combined Training Program                                                                        Page 12 of 40




                                                                                                                  USCIS00008051
    Case 1:21-cv-10083-DJC             Document 139-9        Filed 11/22/24       Page 14 of 41
                                                                                            Note-'



        initial each page and sign the final page to attest that the sworn statement is true and
        correct.

        Circumstances Requiring Sworn Statements or Increased Detail in Note-Taking

        Each Division has specific guidance on the requirement for extra detail when recording
        notes under certain circumstances. In addition, you must switch to a more detailed format
        of note-taking if any of the following circumstances arise during the interview:

        •   The interviewee admits, or there are serious reasons to believe, that he or she is or has
            been associated with an organization included on either the Foreign Terrorist
            Organizations List or the Terrorist Exclusion List (available at
            http://www.state.gov/s/ct/), or that he or she is or has been a member of any other
            terrorist organization.

        •   The interviewee admits, or there are serious reasons to believe, that he or she is, or
            has been, involved in terrorist activities.

        •   The interviewee admits, or there are serious reasons to believe, that he or she assisted
            or otherwise participated in the persecution of others on account of one of the five
            protected grounds in the refugee definition.

        •   The interviewee admits, or there are serious reasons to believe, that he or she assisted
            or otherwise participated in the commission of torture.

        •   There are serious reasons for considering the interviewee a threat to U.S. national
            security.

        •   The interviewee admits, or there are serious reasons to believe, that he or she
            committed or was convicted of a serious crime outside the U.S. and the file does not
            contain a record of the conviction.

        •   The interviewee admits, or there are serious reasons to believe, that he or she
            committed human rights abuses.

        •   When the officer believes it is appropriate to take notes in a more detailed format in
            his or her discretion.

        While there are adjudication-specific guidelines on ways in which to take notes, all of
        these circumstances have in common: serious reasons to believe, or an admission by the
        interviewee, that he or she has committed acts that may render the interviewee ineligible
        for the benefit sought because he or she:
        •   Is inadmissible to the United States;
        •   Is subject to a mandatory bar; and/or
        •   Maybe subject to a discretionary denial

USCIS: RAIO Directorate — Officer Training                   DATE (see schedule of revisions): 12/20/2019
RAIO Combined Training Program                                                              Page 13 of 40




                                                                                                     USCIS00008052
      Case 1:21-cv-10083-DJC           Document 139-9       Filed 11/22/24       Page 15 of 41
                                                                                           Note-'




        Please see the supplements at the end of the module for adjudication-specific guidance
        regarding note-taking. [International and Refugee Adjudications Supplement — Increased
        Detail in Note-Taking, International and Refugee Adjudications Supplement — Sworn
        Statements; Asylum Adjudications Supplement — Sworn Statements]

3.2      Requirements for Proper Note-Taking

3.2.1 Notes Must Be Legible

         As noted above, a number of persons may read your interview notes during the life cycle
         of a case. Accordingly, interview notes taken by hand must be legible so that a reviewer
         can easily read and understand what was written. There is no requirement to use a
         specific penmanship style for interview notes; however, printed handwritten text tends to
         be more legible than cursive text.

        Writing too small is a common mistake that officers make when taking interview notes
        by hand. Make sure that your writing is clear and large enough to read. Taking notes on
        lined paper may help you prevent your handwriting from becoming too small.

        The consequences of developing a record that is not legible are significant. For example,
        in the asylum context, Immigration Judges or ICE trial attorneys may simply disregard an
        officer's notes, if illegible. In the refugee context, an officer adjudicating a Request for
        Review (RFR) who is unable to read the interviewing officer's notes will often send the
        case back for a reinterview because he or she is unable to concur that the decision is
        supported by the record. An officer reviewing material support exemptions may have to
        request a reinterview if he or she is unable to read the notes taken at the time of
        interview.

        If you write your notes by hand, you must evaluate your handwriting and adapt your
        writing style so that your notes are legible to others. Remember, the purpose of taking
        interview notes is to create a record. Notes are often scanned into an electronic version
        and reprinted, which decreases the quality of the image. Therefore, notes that are barely
        legible may become even harder to read. Remember, if your notes are not legible, you
        have, in effect, failed to create that record.

        Officers who have access to a government-issued computer and printer should follow
        their Division's guidance as to whether interview notes should be typed or handwritten.

3.2.2    Notes Must Accurately Reflect the Questions You Ask and the Interviewee's
         Response

        A reviewer should be able to reconstruct what occurred during the interview by reading
        the interview notes. The interview notes must support the officer's decision.




USCIS: RAIO Directorate — Officer Training                  DATE (see schedule of revisions): 12/20/2019
RAIO Combined Training Program                                                             Page 14 of 40




                                                                                                    USCIS00008053
    Case 1:21-cv-10083-DJC               Document 139-9        Filed 11/22/24        Page 16 of 41
                                                                                              Note-'


        You may conduct multiple interviews in a day, and the facts of one case can blur with the
        facts of another. Also, circumstances may delay the writing of an assessment or
        completion of a worksheet, or require another officer to complete a case. Thus, relying on
        your memory of what happened in a particular interview is inappropriate. It is imperative
        that notes be detailed and clear.

        It is very difficult to place an interviewee's answers in context if the questions you ask
        are not also recorded. What at first glance appears to be a discrepancy in the applicant's
        testimony is often the result of an ambiguously worded question. Recording your
        questions in the interview notes is helpful in assessing the reliability of the applicant's
        testimony.

        Accurate interview notes are crucial for analyzing the internal consistency of an
        interviewee's testimony, as well as other concerns about credibility that may arise during
        the interview. It is essential to document any credibility issues that arise during the
        interview in your notes. [See Section 4.1.1 below on referencing notes during the
        interview. ]

        If you repeat a question, but change the wording of the question to help the applicant
        understand, your notes should reflect the change in wording. This will both reflect
        accurately what occurred during the interview and show your efforts to be understood.

        Example


                       Officer                                         Interviewee


           Duties in the military?               Was a cook.


            What did you do as cook?             Cooked for Officers


            Did you do anything else other       No
            than cook for Officers during your
            day?


            Can you tell me about what types     Just cook.
            of things you do when you cook
            for Officers?


            Do you purchase the ingredients,     Just cook.
            or wash dishes, or serve the food?




USCIS: RAIO Directorate — Officer Training                     DATE (see schedule of revisions): 12/20/2019
RAIO Combined Training Program                                                                Page 15 of 40




                                                                                                       USCIS00008054
    Case 1:21-cv-10083-DJC                 Document 139-9         Filed 11/22/24          Page 17 of 41
                                                                                                 Note-'



            I have asked you many questions        I cooked for Officers, nothing else.
            about your five years of service in
            the Iraqi military. So far, you have
            told me the only thing you did
            during the five years was cook for
            officers, without providing me
            with any detail. I would think that
            someone who served in the
            military for five years would be
            able to tell me more details about
            what he or she did during that
            time than just cook for Officers.
            Could you explain why you
            cannot provide more detail?


        Example


                       Officer                                         Interviewee


           Duties in military?                     Cook.


            (Repeat Q) or (Repeat Q 3X)            same answers



        The first example above accurately reflects the officer's effort to elicit detailed testimony
        regarding the interviewee's duties in the military and the interviewee's unwillingness or
        inability to provide sufficient detail. These notes, along with other examples from the
        interview, may help support a negative credibility determination based on lack of
        material detail.

        The second example from the same interview would not support a negative credibility
        determination. It appears as if the officer asked, "What were your duties in the military?"
        three times, without varying the question. Example #2 does not show that attempts were
        made to rephrase questions, or elicit more detail regarding the subject.

3.2.3 Notes Must Not Include the Officer's Opinions, Suppositions, or Personal Inferences

        Your opinions, suppositions, or personal inferences must not be included in the interview
        notes. This should not be confused with subjective statements that the interviewee may
        make, which should be included in the notes.

        You must ensure that your notes are an accurate and objective written record of the
        interview. For example, an exclamation point placed next to a portion of the
        interviewee's testimony would be inappropriate, as it might suggest bias.


USCIS: RAIO Directorate — Officer Training                        DATE (see schedule of revisions): 12/20/2019
RAIO Combined Training Program                                                                   Page 16 of 40




                                                                                                          USCIS00008055
    Case 1:21-cv-10083-DJC              Document 139-9               Filed 11/22/24       Page 18 of 41
                                                                                                    Note-'


3.2.4   Notes Must Include What the Interviewee Did Not Say, When Appropriate

        It is sometimes important to include information in your notes other than the applicant's
        testimony. This includes noting questions that the applicant does not answer, and certain
        non-verbal communication that occurs during the interview. This helps put the interview
        notes in context. Any important observations an officer makes that are relevant to the
        decision should be recorded in the notes. These may include indications that the applicant
        is silent or non-responsive to a question; or engages in any other non-verbal actions, such
        as crying, that could affect the interview in any way. It is important to be as objective as
        possible when writing such notes. The purpose of including this information is to create a
        complete picture of the interview and allow reviewers to reconstruct what occurred
        during the interview. The observations included in your notes during the interview are
        also evidence with regard to the interviewee's claim, application, or petition. You may
        need to record non-verbal communication in your notes in situations like the ones
        described here.

        Example


                   Officer                                              Interviewee


           When was      your   home         [Applicant is crying]
           attacked?




        Example


                   Officer                                             Interviewee


           What is your middle son's         (silence)
           name?


           Can you tell me       your        (long pause) John.
           second son's name?



        It is best to put such information in parentheses or brackets to set it apart from the rest of
        the notes.

        Example


                   Officer                                             Interviewee



USCIS: RAIO Directorate — Officer Training                           DATE (see schedule of revisions): 12/20/2019
RAID Combined Training Program                                                                      Page 17 of 40




                                                                                                             USCIS00008056
    Case 1:21-cv-10083-DJC              Document 139-9            Filed 11/22/24          Page 19 of 41
                                                                                                    Note-'



           How long did you know             (30 second pause) (glanced towards wife)
           your wife before you
           proposed?                         Wife: We knew each other for seven months

                                             App: Umm—seven months


           (Instructed wife not to
           respond    on   husband's
           behalf.)


           Who was the best man at           (looks to wife) (silence)
           your wedding?


           Did you have a best man at        Yes
           your wedding?


           What was his name?                (looks to wife) (silence)


        Any interpreter comments or questions directed at an officer should also be recorded in
        your notes.

        Examples


                   Officer                                           Interviewee


                                         (Interpreter indicated that a particular word could have two possible
                                         meanings in his language and requested that the Officer clarify the
                                         applicant's testimony)




                   Officer                                           Interviewee


                                         (Interpreter asked applicant follow-up questions several times)


           (Reminded interpreter of
           her     role during   the
           interview)




USCIS: RAIO Directorate — Officer Training                         DATE (see schedule of revisions): 12/20/2019
RAIO Combined Training Program                                                                    Page 18 of 40




                                                                                                             USCIS00008057
    Case 1:21-cv-10083-DJC             Document 139-9      Filed 11/22/24        Page 20 of 41
                                                                                           Note-'



        Without this information in the record, it would be difficult for a reviewer to determine
        that there were problems with the interpretation.

3.2.5 Notes Must Identify the Speaker if More than One Person Is Providing Testimony

        You should record in your notes the names of everyone present at the interview and the
        reasons for their presence at the interview, if necessary. Witnesses may provide testimony
        on behalf of the interviewee. The officer may make a statement he or she wants recorded
        in the notes. The principal applicant's family members may be interviewed. In addition, if
        there is a representative, he or she may make a statement at the end of the interview, or
        may ask the interviewee additional questions. In these situations, you should clearly
        identify in the notes who is speaking, and note, when it is required, that an oath was
        administered prior to taking testimony [see section 3.2.8 below].

3.2.6   Notes Must Include Certain Identifying Information on Each Page

        You must include certain identifying information on each page of the interview notes,
        regardless of whether your notes are typed or handwritten. There is always a risk that the
        interview notes may be placed out of order, or even become separated from the file. For
        these reasons, it is important to record a page number as well as identifying information,
        such as an A-number, on each page of your notes. Refer to adjudication-specific guidance
        for further information.

         [International and Refugee judications Supplement - Requirements for Each Page of
        Interview Notes; Asylum Adjudications Supplement — Include identifying Information on
        Each Page].

3.2.7   Notes Must Not Include Abbreviations that a Reviewer Will Not Understand

        If you use any abbreviations in your notes, they should be few in number and should be
        clear enough that anyone who reviews the interview notes will easily understand what
        they mean. Shorthand should never be used. To avoid confusion, you may include a key
        for common abbreviations in your interview notes.

3.2.8 Record Administration of Oath and Use of Interpreter

        The fact that the interview is being conducted under oath must be recorded. If you are
        taking notes in a sworn statement, or are taking down verbatim a question-and-answer
        statement, the exact wording of the oath should be included in your notes. If you are
        taking notes in a less formal modified Q&A format, your interview notes should simply
        reflect that the interviewee was placed under oath. In overseas refugee processing, you
        are not required to note that the interview is being conducted under oath in the written
        record; instead, you must check the appropriate boxes on the front page of the Refugee
        Application Assessment to indicate that the oath was administered, and whether the




USCIS: RAIO Directorate — Officer Training                  DATE (see schedule of revisions): 12/20/2019
RAIO Combined Training Program                                                             Page 19 of 40




                                                                                                    USCIS00008058
      Case 1:21-cv-10083-DJC                  Document 139-9           Filed 11/22/24        Page 21 of 41
                                                                                                         Note-'


          interviewee understands the interpreter or officer. You are also required to fill in the
          interviewee's native language and the language in which the interview was conducted.¢

          In asylum processing, if you are fluent in a language other than English, you must obtain
          certification before you are permitted to conduct interviews in that language. In overseas
          refugee processing, you are not required to obtain language certification, but you are
          generally discouraged from conducting interviews in languages other than English. If an
          interview is conducted without the use of an interpreter, you must make a clear notation
          of the language you and the interviewee spoke during the interview. Please see the RAIO
          Training Module, Interviewing Working with an Interpreter for adjudication-specific
          guidance on conducting an interview in a language other than English. [Asylum
          Adjudications Supplement - Oath and Interpreter]

3.2.9     Notes Must Indicate Instances When the Officer Confronts Interviewee with
          Adverse Information

          During the interview, the officer must provide the interviewee with an opportunity to
          explain any discrepancy or inconsistency that is relevant to the determination of
          eligibility. The interviewee may have a reasonable explanation for the discrepancy, or
          there may have been a misunderstanding between you and the interviewee. Therefore, it
          is critical that your interview notes clearly reflect your questions regarding the potentially
          adverse information, as well as the interviewee's responses. [International and Refugee
          Asylum Supplement - Recording Credibility]

          The example below involves an interview with a birth parent in an adoption case to
          determine whether the child meets the legal definition of an orphan:

          Example


                      Officer                                            Interviewee


              Where is Mr. Khamar, your          He passed away in 2000.
              husband and the father of
              your child, currently living?


              Can you tell me what the           He had lung cancer.
              cause of death was?


              Are you certain of the cause       Yes. I was there at the hospital when he passed away.
              of death and date?




4
    Refugee Application Assessment SOP; Refugee Application Assessment.


USCIS: RAIO Directorate — Officer Training                             DATE (see schedule of revisions): 12/20/2019
RAIO Combined Training Program                                                                        Page 20 of 40




                                                                                                                  USCIS00008059
      Case 1:21-cv-10083-DJC                Document 139-9             Filed 11/22/24          Page 22 of 41
                                                                                                          Note-'




            Ms.     Khamar,    in the             I don't know.
            statement you submitted
            previously you stated that
            the child's father, your
            husband, was killed in a car
            accident in 2002. Today
            you stated that your
            husband died of lung cancer
            in 2000. Can you explain
            why the information you
            provided me today is
            different from what you
            stated previously?


3.2.10 Notes Must Substantiate the Analysis

         Your interview notes substantiate your decision. You must record in your notes all of the
         information that you elicit during the interview regarding the interviewee's eligibility for
         a benefit, petition, or request. Your decision about the interviewee's eligibility must be
         supported by the record you create of the interview. As stated previously, the record
         includes your notes. Therefore, you must not include any information in the assessment
         or worksheet that is not reflected in your notes, or is not otherwise part of the record.
         [Asylum Adjudications Supplement — Important Information to Record]

3.2.11 Notes May Refer to Any Document Deficiencies in the File

         Upon thorough review of the case file, you may identify missing documents or other such
         deficiencies and make reference to this in your notes. The interview notes should also
         reflect that you asked the interviewee for the missing documentation and that the
         interviewee was afforded a reasonable period of time to submit that documentation. 5

         For example, upon reviewing and preparing for an I-730 (V92/V93) interview, you may
         notice that the file does not contain any documentary evidence to support the identity of
         the beneficiary. Before the interview, you may make a notation in your notes and on the
         corresponding V92/V93 worksheet 6 During the interview, the notation should remind
         you to ask about the deficiency. You must clearly distinguish your pre-interview
         notations from your discussion of the issue with the interviewee.


4        EFFECTIVE NOTE-TAKING METHODS AND TECHNIQUES


s USCIS, BASIC Participant Guide, Module 208A Part 1, "Interviewing Techniques," January 2010, EPO C, (7), pg.
10.
6
  Note for officers adjudicating I-730s: Officers should use the V92/V93 Interview Worksheets when conducting
interviews of all I-730 beneficiaries. The worksheets are intended to guide these interviews. Please refer to the I-730
Standard Operating Procedure.


USCIS: RAIO Directorate — Officer Training                              DATE (see schedule of revisions): 12/20/2019
RAIO Combined Training Program                                                                         Page 21 of 40




                                                                                                                   USCIS00008060
      Case 1:21-cv-10083-DJC             Document 139-9            Filed 11/22/24         Page 23 of 41
                                                                                                   Note-'



4.1      Develop Non-Intrusive Note-Taking Techniques

        It is important to develop a note-taking technique that allows you to create an accurate
        record while maintaining rapport with the interviewee. Your technique should not distract
        the interviewee from providing responses to your questions.

        If you focus more on note-taking than on the interviewee, it may appear as if you are not
        listening, which can be very disconcerting to the interviewee. Officers must develop
        skills to accurately take notes while maintaining a non-adversarial approach and rapport
        with the interviewee. Note-taking must never interfere with conducting the interview.

        If an interpreter is used, you can use the time when the interpreter is speaking to write
        notes. When interviewing in English, it may be best to write your notes while the
        interviewee is responding to your questions so that you can write as much of what the
        interviewee says as possible and ensure that your notes are as accurate as possible. When
        writing notes in this manner, you will need to be careful to maintain rapport with the
        interviewee so that the interviewee can tell that you are paying attention to him or her.

        Note-taking may be intimidating to the interviewee; he or she may wonder what you are
        going to do with your notes and if government officials from his or her country will have
        access to your notes. During your introduction, you should explain that you will be taking
        notes during the interview, as well as the purpose of taking notes and any applicable
        confidentiality provisions.

        Whether handwriting or typing notes, you must become comfortable with taking notes in
        a manner that does not interrupt the flow of the interview. For example, if typing notes,
        the computer monitor should be positioned at an angle that will help maintain eye contact
        with the interviewee.

         At the conclusion of the interview, typed notes should be saved immediately, printed, and
         placed in the file as soon as possible. As noted earlier, you should review your notes and
         correct any errors that might distort the meaning of what was said at the interview, taking
         into account that autocorrect and spell-check functions on your word processing program
         may have altered words.

        Note: You may only use Government-issued computers (including laptops), VPN tokens,
        USB flash drives, and printers to type and print notes.'

4.1.1    Officers May Refer to the Notes at Any Time During the Interview

        You may refer back to your notes during the course of the interview. For example, you
        might do this to clarify contradictory information provided during another part of the
        interview. This is a recommended practice. If you find that you cannot take notes fast
        enough, it may help if you read a section of the notes you have already taken, and

' DHS Sensitive Systems Policy Directive 4300A,Version 11.0, January 14, 2015, Section 4.8.3.b.


USCIS: RAIO Directorate — Officer Training                          DATE (see schedule of revisions): 12/20/2019
RAIO Combined Training Program                                                                     Page 22 of 40




                                                                                                            USCIS00008061
      Case 1:21-cv-10083-DJC           Document 139-9      Filed 11/22/24       Page 24 of 41
                                                                                          Note-'



        confirm with the interviewee that what you wrote is correct. This will allow you extra
        time to catch up with your notes when the interpreter is repeating the information back to
        the interviewee in his or her language. This practice will also enable you to make sure
        that you have recorded the interviewee's testimony correctly. In addition, prior to
        concluding the interview, it is helpful to review your notes to ensure that you have
        captured all information necessary to complete your adjudication.


5        CONCLUSION

        Officers in the RAIO Directorate will conduct interviews for a variety of reasons.
        Creating a comprehensive and accurate written record of an interview is essential. You
        must be familiar with RAIO's requirements for notes, along with effective note-taking
        techniques. Finally, you must understand what information must be elicited and recorded
        in your interview notes, along with appropriate procedures for taking notes in a more
        detailed format, such as Q&A or a sworn statement.

        You should apply the principles, techniques, and guidelines on note-taking set forth in
        this module to all interviews conducted within Refugee, Asylum and International
        Operations.


6        SUMMARY

6.1      The Importance of Proper Note-Taking

         Notes Serve as a Record

            Your notes must support the decision regarding the interviewee's eligibility for the
            immigration benefit, petition, protection determination, or other immigration-related
            request.
        •   Your notes must enable the reviewer to reconstruct what transpired during an
            interview

        Access to Your Notes

            Your notes could potentially be reviewed by many people, both within USCIS and the
            RAIO Directorate, and outside.

6.2      Characteristics of Proper Interview Notes

         Format

        •   Modified Q&A




USCIS: RAIO Directorate — Officer Training                 DATE (see schedule of revisions): 12/20/2019
RAIO Combined Training Program                                                            Page 23 of 40




                                                                                                   USCIS00008062
    Case 1:21-cv-10083-DJC             Document 139-9       Filed 11/22/24        Page 25 of 41
                                                                                            Note-'



        Officers adjudicating I-590s are required to take notes in modified Q&A format. Asylum
        Officers and International Operations Officers are encouraged to take notes in modified
        Q&A format.
        •   Sworn Statements
        Switch to a more detailed format of note-taking (see adjudication-specific materials) if
        any of the following circumstances arise during the interview:
            ➢ The interviewee admits, or there are serious reasons to believe, that he or she is
              associated with a terrorist organization, or that he or she is or has been a member
              of any terrorist organization.
            ➢ The interviewee admits, or there are serious reasons to believe, that he or she is, or
              has been, involved in terrorist activities.
            ➢ The interviewee admits, or there are serious reasons to believe, that he or she
              assisted or otherwise participated in the persecution of others on account of one of
              the five protected grounds in the refugee definition.
            ➢ The interviewee admits, or there are serious reasons to believe, that he or she
              assisted or otherwise participated in the commission of torture.
            ➢ There are serious reasons for considering the interviewee a threat to U.S. national
              security.
            ➢ The interviewee admits, or there are serious reasons to believe, that he or she
              committed or was convicted of a serious crime outside the U.S., and the file does
              not contain a record of the conviction.
               The interviewee admits, or there are other serious reasons to believe, that he or she
               committed human rights abuses.
               When the Officer believes it is appropriate to take notes in a more detailed format,
               in his or her discretion.

        Requirements for Proper Note-Taking

        The interview record must:
        •   Be legible
        •   Accurately reflect the questions you ask and the interviewee's response
        •   Not include your opinions, suppositions, or personal inferences
        •   Include what the interviewee did not say, when appropriate
        •   Identify the speaker if more than one person is providing testimony
        •   Include certain identification information on each page
        •   Not include abbreviations that a reviewer will not understand
        •   Indicate that the oath was administered and whether an interpreter was used


USCIS: RAIO Directorate — Officer Training                   DATE (see schedule of revisions): 12/20/2019
RAIO Combined Training Program                                                              Page 24 of 40




                                                                                                     USCIS00008063
      Case 1:21-cv-10083-DJC           Document 139-9       Filed 11/22/24       Page 26 of 41
                                                                                           Note-'



        •   Indicate instances in which the interviewee is confronted with adverse information
        •   Substantiate your analysis
        •   Refer to any document deficiencies in the file, if material
        •   Adhere to any adjudication-specific guidance on note-taking.

6.3      Effective Note-Taking Methods and Techniques

         Develop Non-Intrusive Note-Taking Techniques

        •   When an interpreter is present, you can use the time when the interpreter is speaking
            to write your notes.
            Keep in mind that note-taking may be intimidating to the interviewee. Explain the
            purpose of note-taking and applicable rules of confidentiality to reassure the
            interviewee.
        •   Whether handwriting or typing notes during the interview, ensure that your manner of
            note-taking does not interfere with the flow of the interview.

         Refer to your notes at any time during the interview

        Refer back to your notes during the interview and at the conclusion of the interview to
        ensure completeness and accuracy.




USCIS: RAIO Directorate — Officer Training                  DATE (see schedule of revisions): 12/20/2019
RAIO Combined Training Program                                                             Page 25 of 40




                                                                                                    USCIS00008064
    Case 1:21-cv-10083-DJC             Document 139-9       Filed 11/22/24       Page 27 of 41
Practical Exercises                                                                        Note-Taking




                                       PRACTICAL EXERCISES

        There are no Practical Exercises for this module.




USCIS: RAIO Directorate — Officer Training                  DATE (see schedule of revisions): 12/20/2019
RAIO Combined Training Program                                                             Page 26 of 40




                                                                                                  USCIS00008065
    Case 1:21-cv-10083-DJC             Document 139-9        Filed 11/22/24       Page 28 of 41
Other Materials                                                                             Note-Taking




                                         OTHER MATERIALS

The following sample interview excerpts are the same interview presented in different formats.
These samples of note-taking formats are based on a refugee interview. RAIO interviews cover a
variety of adjudications. These various interview types, as well as the issues presented within any
given interview, will affect the level of detail, topics and extent of follow-up required.

                                        FORMAT Example #1

This simple table format allows you to tab quickly (if typing) between your questions and the
interviewee's responses. In addition, this format provides a clear delineation between what you
say and what the interviewee says. Use of this format is strongly suggested when adjudicating
asylum cases.


           Note: These samples demonstrate the acceptable use of acronyms. The
           abbreviations (BM/Burma, MO/mother, and SI/sister) are from the Worldwide
           Refugee Admissions Processing System (WRAPS).


MY-000000
04/25/11
RO Smith
SOE, Christina

            Officer                                          Interviewee

Why left BM?                        I was about to be arrested by BM military.
Why?                                They accused me of helping my MO escape from their hand.
How you know?                       My auntie informed me, "The BM military were looking for
                                    you."
Where looked for you?               My house.
Auntie live there?                  Yes.
Where were you?                     I was at boarding hostel with my SI.
Why want to arrest MO?              BM military accused her of defying their order for refusing to
                                    send car for BM porter.
Did you help MO escape?             Only because she was sick, she had to be transferred to another
                                    hospital. I helped my MO transfer to another hospital. That's
                                    why they accused me of helping her escape from their hand.
Boarding hostel and your            Yes. Falam.
house in same town?
I know you were not there,          My auntie came to me and said "BM military came to our house
but what did auntie tell you        looking for you b/c you helped your MO escape from their
about the soldiers' visit?          hand. They left message that if you come back you should

USCIS: RAIO Directorate — Officer Training                   DATE (see schedule of revisions): 12/20/2019
RAIO Combined Training Program                                                              Page 27 of 40




                                                                                                   USCIS00008066
    Case 1:21-cv-10083-DJC             Document 139-9          Filed 11/22/24       Page 29 of 41
Other Materials                                                                               Note-Taking


                                    report to the military."
Did auntie agree to do              No.
anything?
Did auntie tell them where          No. She said 1 was traveling.
you were?
Did auntie say she would tell       Yes.
you to report yourself to the
military?
What you do?                        I decided to run away.
When?                               Same day auntie told me, March 15, 2007.
Activities between March 15         I went to Kalaymyo where I was hiding for 2 wks. And about 2
and April 17 when you               wks in Rangoon.
crossed border?
Travel with anyone?                 My MO and my SI.
MO and SI stay with you             Yes.
whole time?
Time of day when auntie told        Evening.
you?
Where?                              At boarding hostel.
Time fled?                          About 3 hours from the inform. I got from my auntie.
Why thought you would be            b/c they already see us as who is against their order.
arrested?
Can you go back to BM?              No.
What would happen?                  Military would arrest and imprison me.
Reason?                             1st, since they are already see us as people against their order,
                                    they see us as enemy. 2nd, b/c we run away from BM.
Problem with running away           They think all of us who run away are enemy.
from BM?
Why?                                They are gov't. We run away from them. So they think we are
                                    against what they do.
Are you against gov't?              It's not that I'm against them.
Work in BM?                         Just before I left I was a teacher at boarding school. And in
                                    Rangoon I was an assistant accountant.
Ever involved in any                No.
protests/ political activities?




USCIS: RAIO Directorate — Officer Training                     DATE (see schedule of revisions): 12/20/2019
RAIO Combined Training Program                                                                Page 28 of 40




                                                                                                     USCIS00008067
    Case 1:21-cv-10083-DJC             Document 139-9     Filed 11/22/24       Page 30 of 41
Other Materials                                                                          Note-Taking




                                             FORMAT Example #2

MY-000000
4/25/11
RU Smith
SUE, Christina

Why left Burma? 1 was about to be arrested by BM military.
Why? They accused me of helping my MO escape from their hands.
How do you know? My auntie informed me, "The BM military were looking for you."
Where looked for you? My house.
Auntie live there? Yes.
Where were you? I was at boarding hostel with my SI.
Why want to arrest MO? BM military accused her of defying their order for refusing to send car
for BM porter.
Did you help MO escape? Only because she was sick, she had to be transferred to another
hospital. I helped my MO transfer to another hospital. That's why they accused me of helping
her escape from their hand.
Boarding Hostel and your home in same town? Yes, Falam.
I know you were not there, but what did auntie tell you about the soldiers' visit? My auntie came
to me and said, "BM military came to our house looking for you b/c you helped your MO escape
from their hand. They left message that if you come back you should report to the military."
Did auntie agree to do anything? No.
Did auntie tell them where you were? No. She said I was traveling.
Did auntie say she would tell you to report yourself to the military? Yes.
What you do? I decided to run away.
When? The same day.
Activities between March 15 and April 17 when you crossed border? I went to Kalaymo where I
was hiding for 2 wks. And about 2 wks in Rangoon.
Travel with anyone? My MO and my Si.
MO and SI stay with you whole time? Yes.
Time of day when auntie told you? Evening.
Where? Boarding hostel.
Time fled? About 3 hours from the inform. I got from my auntie.
Why thought you would be arrested? b/c they already see us as who is against the government.
Can you go back to BM? No.
What would happen? Military would arrest and imprison me.
Reason? 1st, since they already see us as people against their order, they see us as enemy. 2nd,
b/c we run away from BM.
Problem with running away from BM? They think all of us who run away are enemy.
Why? They are gov't. We run away from them. So they think we are against what they do.
Are you against gov't? It's not that I am against them.
Work in BM? Just before I left I was a teacher at boarding school. And in Rangoon I was an
assistant accountant.


USCIS: RAIO Directorate — Officer Training                DATE (see schedule of revisions): 12/20/2019
RAID Combined Training Program                                                           Page 29 of 40




                                                                                                USCIS00008068
    Case 1:21-cv-10083-DJC             Document 139-9      Filed 11/22/24       Page 31 of 41
Other Materials                                                                           Note-Taking


Ever involved in any protests /political activities? No.




USCIS: RAIO Directorate — Officer Training                 DATE (see schedule of revisions): 12/20/2019
RAIO Combined Training Program                                                            Page 30 of 40




                                                                                                 USCIS00008069
    Case 1:21-cv-10083-DJC             Document 139-9     Filed 11/22/24       Page 32 of 41
Other Materials                                                                          Note-Taking


                                        FORMAT Example #3
MY-000000
4/25/11
RO Smith
SOE, Christina

Q. Why left Burma?
A. I was about to be arrested by BM military.
Q. Why?
A. They accused me of helping my MO escape from their hands.
Q. How do you know?
A. My auntie informed me, "The BM military were looking for you."
Q. Where looked for you?
A. My house.
Q. Auntie live there?
A. Yes.
Q. Where were you?
A. I was at boarding hostel with my SI.
Q. Why want to arrest MO?
A. BM military accused her of defying their order for refusing to send car for BM porter.
Q. Did you help MO escape?
A. Only because she was sick, she had to be transferred to another hospital. I helped my MO
transfer to another hospital. That's why they accused me of helping her escape from their hand.
Q. Boarding Hostel and your home in same town?
A. Yes, Falam.
Q. I know you were not there, but what did auntie tell you about the soldiers' visit?
A. My auntie came to me and said, "BM military came to our house looking for you b/c you
helped your MO escape from their hand. They left message that if you come back you should
report to the military."
Q. Did auntie agree to do anything?
A. No.
Q. Did auntie tell them where you were?
A. No. She said I was traveling.
Q. Did auntie say she would tell you to report yourself to the military?
A. Yes.
Q. What you do?
A. I decided to run away.
Q. When?
A. The same day.
Q. Activities between March 15 and April 17 when you crossed border?
A. I went to Kalaymo where I was hiding for 2 wks. And about 2 wks in Rangoon.
Q. Travel with anyone?
A. My MO and my SI.
Q. MO and SI stay with you whole time?
A. Yes.


USCIS: RAIO Directorate — Officer Training                DATE (see schedule of revisions): 12/20/2019
RAID Combined Training Program                                                           Page 31 of 40




                                                                                                USCIS00008070
    Case 1:21-cv-10083-DJC             Document 139-9      Filed 11/22/24        Page 33 of 41
Other Materials                                                                            Note-Taking


Q. Time of day when auntie told you?
A. Evening.
Q. Where?
A. Boarding hostel.
Q. Time fled?
A. About 3 hours from the inform. I got from my auntie.
Q. Why thought you would be arrested?
A. b/c they already see us as who is against the government.
Q. Can you go back to BM?
A. No.
Q. What would happen?
A. Military would arrest and imprison me.
Q. Reason?
A. 1st, since they already see us as people against their order, they see us as enemy. 2nd, b/c we
run away from BM.
Q. Problem with running away from BM?
A. They think all of us who run away are enemy.
Q. Why?
A. They are gov't. We run away from them. So they think we are against what they do.
Q. Are you against gov't?
 A. It's not that I am against them.
Q. Work in BM?
A. Just before I left I was a teacher at boarding school. And in Rangoon I was an assistant
accountant.
Q. Ever involved in any protests /political activities?
A. No.




USCIS: RAIO Directorate — Officer Training                  DATE (see schedule of revisions): 12/20/2019
RAIO Combined Training Program                                                             Page 32 of 40




                                                                                                  USCIS00008071
    Case 1:21-cv-10083-DJC             Document 139-9        Filed 11/22/24       Page 34 of 41
Supplement A
International and Refugee Adjudications                                                     Note-Taking



             SUPPLEMENT A — INTERNATIONAL AND REFUGEE ADJUDICATIONS

The following information is specific to international and refugee adjudications. Information in
each text box contains adjudication-specific procedures and guidelines related to the section from
the Training Module referenced in the subheading of the supplement text box.


REQUIRED READING

        1.

        2.


ADDITIONAL RESOURCES

        1.

        2.


SUPPLEMENTS


               international and Refugee Adjudications Supplement —Requirements for
                                    Each Page of Interview Notes

             Officers interviewing refugees overseas should leave a margin at the top and
             bottom of each page of interview notes of about one inch (2.54 cm), for both
             handwritten and typed notes. This is to accommodate the use of A4-sized paper in
             most overseas locations. The Refugee Application Assessment and the notes of the
             interview are scanned into the Worldwide Refugee Application Processing System
             (WRAPS). If the interviewer takes notes on A4-sized paper without paying
             attention to margins, a person located in the United States who is printing the notes
             from the scanned document will not be able to read the portion of the notes that is
             outside the margin size of 8 '/2 X 11- inch paper.

             Each page of notes must identify the RSC case number and the page number.




             International and Refugee Adjudications Supplement — Recording Credibility

               Notes Must Indicate Instances When the Interviewee Was Confronted with


USCIS: RAIO Directorate — Officer Training                   DATE (see schedule of revisions): 12/20/2019
RAIO Combined Training Program                                                              Page 33 of 40




                                                                                                   USCIS00008072
    Case 1:21-cv-10083-DJC             Document 139-9       Filed 11/22/24       Page 35 of 41
Supplement A
International and Refugee Adjudications                                                    Note-Taking

                                             Adverse Information

           The Refugee Application Assessment has a box the officer must check to confirm
           that the interviewee was confronted during the interview with any potentially
           adverse information. However, checking the box does not take the place of
           recording in the interview notes all instances in which the interviewee was
           confronted with any adverse information.

           Please see RAIO Training Module Introduction to the NonAdversarial Interview
           for more information about confronting an interviewee about potentially adverse
           information.




              International and Refugee Adjudications Supplement — Increased Detail in
                                           Note-Taking

           When you are interviewing refugees overseas, you must use a more detailed form
           to record your notes when the interviewee indicates that he or she has taken part in
           any activities listed in Section 3.1.2 Circumstances Requiring Sworn Statements or
           Increased Detail in Note-Taking. It is not necessary to record verbatim everything
           that is said; however, your notes must contain an accurate representation of every
           question asked and every response given using the wording and vocabulary used by
           the interviewee (most often through the interpreter). Once you have gone into the
           more detailed method of recording your interview notes, you must remain in that
           mode until the interview is completed. The interview for an I-590 application does
           not use the sworn-statement format used for asylum adjudications because refugee
           interviews take place outside the United States, and it is very unlikely that a refugee
           would appear in a U.S. Court.




              International and Refugee Adjudications Supplement — Sworn Statements

           With certain adjudications overseas, such as I-730 interviews, when you have
           reason to believe that the interviewee has taken part in certain activities listed in
           Section 3.1.2 Sworn Statements, you must switch your note-taking format to that of
           a sworn statement.

           Note: In addition to the list in section 3.1.2, you must also take a sworn statement
           in certain I-730 (V9293) cases:

           If in the normal course of the interview, the beneficiary's responses to the officer's
           questions regarding the beneficiary's own eligibility for derivative asylum or
           refugee status cause the officer to have significant concerns about possible fraud

USCIS: RAIO Directorate — Officer Training                  DATE (see schedule of revisions): 12/20/2019
RAIO Combined Training Program                                                             Page 34 of 40




                                                                                                  USCIS00008073
    Case 1:21-cv-10083-DJC             Document 139-9        Filed 11/22/24        Page 36 of 41
Supplement A
International and Refugee Adjudications                                                      Note-Taking

           having occurred in the adjudication of the principal's case. Often, a sworn
           statement by the Petitioner or Beneficiary is required to support a Consular Return
           based on document fraud; and/or

           If in the normal course of the interview, the beneficiary admits that he or she is not
           the person listed as the beneficiary of the I-730 or that the required relationship
           does not exist.

           Please see legacy IO Field Guidance: Overseas Processing of Asylee and Refugee
           Derivatives: Form I-730 Beneficiaries (Visas 92/93).

           Sworn statements are of greater evidentiary value in a subsequent proceeding. They
           include having the interviewee initial and sign the statement. Note that not all
           testimony recorded in a Q&A format is considered a sworn statement. Notes taken
           in full Q&A format do not constitute a sworn statement unless and until they are
           reviewed and signed, page by page, by the interviewee.

                                        Format for Sworn Statements

           Officers should use the full Q&A format when preparing a sworn statement. The
           interview notes do not have to verbatim but should be as close as possible to a
           verbatim record of everything said at the interview, and must provide an accurate
           and detailed record of the specific questions asked and the interviewee's answers.
           This format leaves less room for misinterpretation or for claims that important
           information given to an officer has been omitted or misunderstood.

           When you find you have to begin taking notes as a sworn statement, you draw a
           diagonal line through the remaining page of notes at the point at which you stop
           taking notes to signify the change of format to a sworn statement. The sworn
           statement should begin on a separate page from the earlier interview notes and
           should continue through to the conclusion of the interview.

           Each page should include the same information that must be contained in regular
           interview notes: A-number or other identifying number, date, page number, name
           of applicant, name and number of the officer.

                                        Content of Sworn Statements

           The sworn statement should generally be developed in chronological and logical
           sequence with respect to all pertinent details. You should avoid pursuing lines of
           questioning that are not relevant to the interviewee's eligibility for the benefit. It is
           important that the officer use the particular phraseology of the interviewee and his
           or her exact words, to the extent possible, when recording the Q&A statement. This
           will avoid any implication that the statement was not made freely and voluntarily,
           or that it does not represent a true record of the exchange between the officer and
           the interviewee.


USCIS: RAIO Directorate — Officer Training                    DATE (see schedule of revisions): 12/20/2019
RAIO Combined Training Program                                                               Page 35 of 40




                                                                                                    USCIS00008074
    Case 1:21-cv-10083-DJC             Document 139-9       Filed 11/22/24       Page 37 of 41
Supplement A
International and Refugee Adjudications                                                    Note-Taking

                                   Proper Execution of Sworn Statements

           At the conclusion of the interview, the officer should review the sworn statement
           with the interviewee and representative, if applicable, and make any corrections
           requested, and the corrections should be initialed by both the officer and the
           interviewee. Each page of the Q&A statement should be signed or initialed by the
           person being interviewed to demonstrate that he or she has reviewed the statement,
           understood the contents of the statement, and consented to any and all changes to
           the statement. All pages of the statement should be signed in the presence of the
           officer taking the statement.

           Both the officer and the interviewee should print and sign the last page of the Q&A
           sworn statement and attest that the interviewee acted of his or her own free will and
           acknowledged the statement to be true and correct. As with the procedure for
           regular interview notes, the officer should draw a diagonal line from the end of the
           testimony to the bottom of the page to prevent any substitutions or alterations to the
           statement.

           Once all these steps are completed, the statement taken by the officer in Q&A
           format is considered to be a sworn statement.




USCIS: RAIO Directorate — Officer Training                  DATE (see schedule of revisions): 12/20/2019
RAIO Combined Training Program                                                             Page 36 of 40




                                                                                                  USCIS00008075
    Case 1:21-cv-10083-DJC             Document 139-9         Filed 11/22/24       Page 38 of 41
Supplement B
Asylum Adjudications                                                                         Note-Taking




                           SUPPLEMENT B — ASYLUM ADJUDICATIONS

The following information is specific to asylum adjudications. Information in each text box
contains adjudication-specific procedures and guidelines related to the section from the Training
Module referenced in the subheading of the supplement text box.


REQUIRED READING

        1.

        2.


ADDITIONAL RESOURCES

        1.

        2.


SUPPLEMENTS


                       Asylum Adjudications Supplement — Oath And Interpreter

                Notes Must Include a Notation that Oath Was Administered and Indicate
                                    When Interpreter Was Present

         • Include a Notation that the Oath was Administered to the Interpreter Monitor

             On some occasions during an asylum interview, a professional interpreter will be
             used to monitor (via telephone) the interpretation by the applicant's interpreter. As
             the interpreter monitor is not present at the interview to sign an oath form, the notes
             must indicate that the oath was administered to the interpreter monitor.

         • Include Both Interpretations Where There is a Dispute in Interpretation Between the
            Applicant's Interpreter and the Interpreter Monitor

             When using a professional interpreter to monitor the interpretation of the interpreter
             provided by the applicant, there may be instances in which a dispute in
             interpretation between the interpreter monitor and the applicant's interpreter arise.
             If there is such a dispute, the asylum officer must give the applicant's interpreter an
             opportunity to provide a reasonable explanation for the discrepancy. If the

USCIS: RAIO Directorate — Officer Training                    DATE (see schedule of revisions): 12/20/2019
RAIO Combined Training Program                                                               Page 37 of 40




                                                                                                    USCIS00008076
      Case 1:21-cv-10083-DJC               Document 139-9      Filed 11/22/24       Page 39 of 41
Supplement B
Asylum Adjudications                                                                          Note-Taking


              applicant's interpreter is unable to do so and the interpreted testimony will be used
              in the assessment, the asylum officer must use the interpreter monitor's
              interpretation of the applicant's testimony in the assessment; however, the
              interview notes must preserve both the interpretation given by the applicant's
              interpreter and the interpreter monitor, clearly indicating which interpretation was
              provided by the monitor and which was provided by the applicant's interpreter.

              Officers should consult the Affirmative Asylum Procedures Manual for note-taking
              procedures relating to the Use of Monitoring Services in Asylum Interviews.'




              Asylum Adjudications Supplement — Include Identifying Information on Each
                                               Page

           Each page should have the following information clearly written or typed in the top right-
           hand corner:
               •   A Number, Case Number or NIV Receipt number, depending on the type of case
                   being interviewed
               •   Date of the interview
               •   Page number in the following format: 1 of 13, 3 of 15, etc.
               •   Officer's Name and ID number, if applicable
               •   Name of Applicant




                   Asylum Adjudications Supplement —Important Information to Record

                                   Elements that Must be Included in the Notes

              It is imperative that the interview notes be sufficiently detailed and clear.
              Furthermore, accurate interview notes are crucial for probing into the internal
              consistency of an applicant's claim.

              Interview notes should include the following:

           • Factors that address the elements of the refugee definition

           • Factors that affect credibility, including the applicant's opportunity to respond to an

8   Affirmative Asylum Procedures Manual, Section ILJ.4.b.v.



USCIS: RAIO Directorate — Officer Training                     DATE (see schedule of revisions): 12/20/2019
RAIO Combined Training Program                                                                Page 38 of 40




                                                                                                     USCIS00008077
      Case 1:21-cv-10083-DJC                Document 139-9            Filed 11/22/24         Page 40 of 41
Supplement B
Asylum Adjudications                                                                                    Note-Taking


               perceived inconsistencies

            • Factors that relate to mandatory bars and discretionary denials

            • Indications that the officer pursued all relevant lines of questioning, followed-up on
               relevant points, and provided the applicant an opportunity to add additional
               information before the conclusion of the interview

            • The applicant's (and any dependent's) current immigration status

            • Factors that relate to the one-year filing deadline




                            Asylum Adjudications Supplement — Sworn Statements9

              When adjudicating asylum cases, when you have reason to believe that the
              interviewee has taken part in certain activities listed in Section 3.1.2 Sworn
              Statements, you must switch your note-taking format to that of a sworn statement.
              Sworn statements are of greater evidentiary value in a subsequent proceeding. They
              include having the interviewee initial and sign the statement. Note that not all
              testimony recorded in a Q&A format is considered a sworn statement. Notes taken
              in full Q&A format do not constitute a sworn statement unless and until they are
              reviewed and signed, page by page, by the interviewee.

                                             Format for Sworn Statements

              Officers should use the full Q&A format when preparing a sworn statement. The
              interview notes should be as close as possible to a verbatim record of everything
              said at the interview, and must provide an accurate and detailed record of the
              specific questions asked and the interviewee's answers. This format leaves less
              room for misinterpretation or for claims that important information given to an
              officer has been omitted or misunderstood.

              When you find you have to begin taking notes as a sworn statement, you draw a
              diagonal line through the remaining page of notes at the point at which you stop
              taking notes to signify the change of format to a sworn statement. The sworn
              statement should begin on a separate page from the earlier interview notes and
              should continue through to the conclusion of the interview.

              Each page should include the same information that must be contained in regular
              interview notes: A-number or other identifying number, date, page number, name

9   Information about sworn statements is also available in the Affirmative Asylum Procedures Manual.


USCIS: RAIO Directorate — Officer Training                            DATE (see schedule of revisions): 12/20/2019
RAIO Combined Training Program                                                                       Page 39 of 40




                                                                                                              USCIS00008078
    Case 1:21-cv-10083-DJC             Document 139-9      Filed 11/22/24        Page 41 of 41
Supplement B
Asylum Adjudications                                                                       Note-Taking


           of applicant, name and number of officer.

                                        Content of Sworn Statements

           The sworn statement should generally be developed in chronological and logical
           sequence with respect to all pertinent details. You should avoid pursuing lines of
           questioning that are not relevant to the interviewee's eligibility for asylum. It is
           important that the officer use the particular phraseology of the interviewee and his
           or her exact words, to the extent possible, when recording the Q&A statement. This
           will avoid any implication that the statement was not made freely and voluntarily,
           or that it does not represent a true record of the exchange between the officer and
           the interviewee.

                                   Proper Execution of Sworn Statements

           At the conclusion of the interview, the officer should review the sworn statement
           with the interviewee and representative, if applicable, and make any corrections
           requested, and the corrections should be initialed by both the officer and the
           interviewee. Each page of the Q&A statement should be signed or initialed by the
           person being interviewed to demonstrate that he or she has reviewed the statement,
           understood the contents of the statement, and consented to any and all changes to
           the statement. All pages of the statement should be signed in the presence of the
           officer taking the statement. Please see Affirmative Asylum Procedures Manual,
           Appendix 63 for sample sworn statement.

           Both the officer and the interviewee should print and sign the last page of the Q&A
           sworn statement and attest that the interviewee acted of his or her own free will and
           acknowledged the statement to be true and correct. As with the procedure for
           regular interview notes, the officer should draw a diagonal line from the end of the
           testimony to the bottom of the page to prevent any substitutions or alterations to the
           statement.

           Once all these steps are completed, the statement taken by the officer in Q&A
           format is considered to be a sworn statement.




USCIS: RAIO Directorate — Officer Training                  DATE (see schedule of revisions): 12/20/2019
RAIO Combined Training Program                                                             Page 40 of 40




                                                                                                  USCIS00008079
